           Case 8:25-cv-00165-JWH-ADS                     Document 1-1 Filed 01/29/25 Page 1 of 3 Page ID
                                                                    #:9
                                        UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                        CIVIL COVER SHEET
I (a)PLAINTIFFS (Check box if you are representing yourself Q)
.                                                                                     DEFENDANTS              (Check box if you are representing yourself ~ )

  ~rT►~ - Il~i~ ; ~GS~ J~                                                               ~X~en'S-~I ~n~o~M4'~ho,~ s%fi6ns..,Zn~.
                                                                                        Monfere ~,'~gn~i4~ Sery~`~eS,LLG
(b) County of Residence of First Listed Plaintiff C,                                  County of Residence of First Listed Defendant                     ,~~~~~, ~d~n ~~
(EXCEPTIN U.S. PLAINTIFF CASES)                                                       (IN U.S. PLAINTIFF CASES ONLY)

(C) Attorneys (Firm Name, Address and Telephone Number) If you are                    Attorneys (Firm Name, Address and Telephone Number) If you are
rep esenting yourself, provide the same information. 8'31.3y6 ~ Z SGZ                 representing yourself, provide the same information.

   53 saal~h ~~q ~¢f Svi~e yoo ~Mpl?~/
  Los                 ~       db~3
II. BA515 OF JURISDICTION (Place an X in one box only.)                       III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                    (Place an X in one box for plaintiff and one for defendant)
                                                                                                         PTF DEF                                                 PTP DEF
    1. U.S. Government             ~3. Federal Question (U.S.                                            ~ 1 ~ ~          Incorporated or Principal Place        ~ 4 ~ 4
                                                                              Citizen of This State
    Plaintiff                        Government Not a Party)                                                              of Business in this State
                                                                              Citizen of Another State   ~ ~     ~ 2      Incorporated and Principal Place       ❑ 5 ~ 5
                                                                                                                          of Business in Another State
❑ 2. U.S. Government
  Defendant
                                   ❑
                                       4. Diversity (Indicate Citizenship
                                       of Parties in Item III)
                                                                              Citizen or Subject of a
                                                                              Foreign Country            ~
                                                                                                             3
                                                                                                                 ~
                                                                                                                       3 Foreign Nation                          ~ 6 ~ 6


IV.ORIGIN (Place an X in one box only.)
                                                                                                                                   6. Multidistrict         8. Multidistrict
     1.Original    2. Removed from              3. Remanded from        4. Reinstated or        5. Transferred from Another           Litigation -      ~      Litigation -
       Proceeding ~ State Court                   Appellate Court         Reopened                 District (Specify)                 Transfer                 Direct file


V.REQUESTED IN COMPLAINT: JURY DEMAND: D~Yes ~ No                                       (Check "Yes" only if demanded in complaint.)
CLA55 ACTION under F.R.Cv.P. 23: ~ Yes [~No                                       0 MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictional statutes unless diversity.)

     ~`~(~r~ ~~~ ~D~PA V,ol~fi'o~s.
VI1. NATURE OF SUIT (Place an X in one box only).
    OTHER STATUTES                 CONTRAR            REAL PROPERTY CONT.             IMMIGRATION              PRISONER PETITIONS                     PROPERTY RIGHTS
    375 False Claims Act     ❑ 1 10 Insurance        ~ 240 Torts to Land        ~ 462 Naturalization       Habeas Corpus:                   ~ gz0 Copyrights
                                                                                  Application          ~ 463 Alien Detainee
   376 Qui Tam                    120 Marine         ❑ 245 Tort Product                                                                     ~ 830 Patent
   (31 USC 3729(aj)                                     Liability                 465 Other                         ns to Vacate
                                                                                                       ❑ Sentence                             g35 Patent -Abbreviated
   400 State               ❑ 130 Miller Act          ~ 290 All Other Real       ~ Immigration Actions
    ReappoKionment            140 Negotiable
                                                       Property                        TORTS           ~ 530 General                          New Drug Application
   410 Antitrust           ~ Instrument                      TORTS              PERSONAL PROPERTY ❑ 535 Death Penalty                       ~ g40 Trademark
                              150 Recovery of         PERSONAL INJURY                                        Other:                           880 Defend Trade Secrets Act
  430 Banks and Banking                                                           370 Other Fraud
                             pverpayment &        310 Air lane                                           540 Mandamus/Other                 ~ of 2016(DTSA)
  450 Commerce/ICC         ~ Enforcement of     ❑ 315 Airplane                  ❑ 371 Truth in Lending ~
   Rates/Etc.                Judgment           ❑ product Liability                                      550 Civil Rights                             SOCIAL SECURITY
  460 Deportation                                                                 380 Other Personal ❑
                           ❑ 151 Medicare Act ~ 320 Assault, Libel &            ~ Property Damage          ~ 555 Prison Condition           ❑ 861 HIA (1395f~
   470 Racketeerinflu-                            Slander
   enced & Corrupt Org.       1 52 Recovery of                                    385 Property Damage                                       ~ 862 Black Lung (923)
                                                  330 Fed. Employers'           ❑ product Liability           560 Civil Detainee
  480 Consumer Credit      ❑ Defaulted  Student ~ Liability                                                 ❑ Conditions of                 ~ 863 DIWC/DIWW (405 (g))
                             Loan (Excl. Vet.)                                        BANKRUPTCY               Confinement
  485 TelePhone                                 ~ 340 Marine                                                                                    864 SSID Title XVI
   Consumer Protection Act   1 53 Recovery of                                   ~ 4~2 Appeal 28              FORFEITURE/PENALTY
                                                    abiMY~ine Product             USC 158
  490 Cable/SatN           ❑ Overpayment of     ❑ L                                                          625 Drug Related               ~ 865 R51 (405 (g))
                             Vet. Benefits                                        423 Withdrawal 28        ~ Seizure of Property 21
  850 Securities/Com-                           ~ 350 Motor Vehicle             ❑ USC 157                    USC 881                                  FEDERAL TAX SUITS
   modities/Exchange       ~ 5Otstockholders'                                                                690 Other
                                                  355 Motor Vehicle                                                                      ndanYjU.S. Plaintiff or
   A90~osher Statutory                          ❑ Product Liability                ~~VIL RIGHTS            ~       LABOR            ❑ Def
                              190 Other           360 Other Personal            ❑ `~0 Other Civil Rights                              871 IRS-Third Party 26 USC
   891 Agricultural Acts     Contract           ❑ Injury                        ~ 441 Voting             ~ ACO Fair Labor Standards ❑ 7609
  893 Environmental          195 Contract         362 Personal Injury-
                           ~ Product Liability  ~ Med Malpratice                ❑ `~z Employment           ~ 720 Labor/Mgmt.
   Matters                                                                                                   Relations
  895 Freedom of Info.     ~ 196 Franchise      ~ 365 Personal Injury-          ~ ~3 Housing/
❑ q~                                              Product Liability               Accommodations           ~ ~q0 Railway Labor Act
                            REAL PROPERTY                                         ~5 American with
  896  Arbitration                                367 Health Care/                                                            and Medical
                           ~ 210 Land           ~ Pharmaceutical                ❑ Disabilities-             ❑ LeaeaActy
  899 Admin. Procedures      Condemnation         Personal Injury                 Employment
  Act/Review of Appeal of ~ 220 Foreclosure       Product Liability               446 American with        ~ X90 Other Labor
  Agency Decision                                 368 Asbestos                  ~ Disabilities-Other         Litigation
  950 Constitutionality of   230 Rent Lease & ~ personal In'u                                                791 Employee Ret. Inc.
                                                             1 rY               ~ 448 Education
  State Statutes             E'ectment            Product Liabilit                                           Security Act

FOR OFFICE USE ONLY:                   CaseNumber: ~ ~ ~.~Ci~ O~(1(J~^ ~VV~ ~ ~~~~x'
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                                             UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                               CIVIL COVER SHEET

   VIII. VENUE: Your answers to the questions below will determine the division of the Court
                                                                                                 to which this case will be initially assigned. This initial assignment is subject
   to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint
                                                                                                        or Notice of Removal.
  QUESTION A: Was this case removed
  from state court?                                             STATE CASE WAS PENDING IN THE COUNTY OF:                                   INffIAL DIVISION IN CARD IS:
                      Yes ~' No
                                                     Los Angeles, Ventura, Santa Barbara,or San Luis Obispo
                                                                                                                                                      Western
  If"no," skip to Question B. If "yes," check the
  box to the right that applies, enter the        ❑ Orange                                                                                           Southern
  corresponding division in response to
  Question E, below,and continue from there. ❑       Riverside or San Bernardino                                                                      Eastern


  QUESTION B: I5 the United States,or 8.1. Do 50% or more of the defendants who reside in
                                      the district reside in Orange Co~                                        YES. Your case will initially be assigned to the Southern Division.
  one of its agencies or employees,a
                                                                                                             ~ Enter "Southern" in response to Question E, below,and continue
  PLAINTIFF in this action?
                                      check one ofthe boxes to the right                                       from there.
                                                                         ~~
                  Yes (g No
                                                                                                            ~ N0. Continue to Question B.2.

                                                  6.2. Do 50°h or more of the defendants who reside in
  If"no," skip to Question C. If"yes," answer                                                                 YES. Your case will initially be assigned to the Eastern Division.
                                                  the district reside in Riverside and/or San Bernardino    ~ Enter "Eastern" in response to Question E,
  Question 6.1, at right.                         Counties? (Consider the two counties together.)                                                          below,and continue
                                                                                                              from there.
                                                 checkone ofthe boxes to fhe right    ~                           NO. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below,and continue
                                                                                                                 from there.

 QUESTION C: Is the United States,or C.1. Do 50% or more of the plaintiffs who reside in the
                                     district reside in Orange Co.?                            YES. Your case will initially be assigned to the Southern Division.
 one of its agencies or employees,a
                                                                                             ~ Enter "Southern" in response to Question E, below,and continue
 DEFENDANT in this action?
                                     check one ofthe boxes to the right                        from there.
                                                                          ~~
                 Yes [1~' No
                                                                                             ~ N0. Continue to Question C.2.

                                                 C.2. Do 50% or more of the plaintiffs who reside in the
 If"no," skip to Question D. If"yes," answer     district reside in Riverside and/or San Bernardino        YES. Your case will initially be assigned to the Eastern Division.
 Question C.1, at right.                                                                                 ~ Enter "Eastern" in response to Question E, below,
                                                 Counties? (Consider the two counties together.)                                                               and continue
                                                                                                           from there.
                                                 check one ofthe boxes to the right   ~~                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below,and continue
                                                                                                                 from there.
                                                                                                            A.                         B.                            C.
 QUESTION D: Location of plaintiffs and defendants?                                                                             Riverside or San           Los Angeles, Ventura,
                                                                                                   Orange County               Bernardino County           Santa Barbara, or San
                                                                                                                                                            Luis Obispo County
 Indicate the locations) in which 50% or more of plaintiffs who reside in this district
 reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
a pply.)

                D.1. Is there at leastone answer in Column A?                                              D.2. Is there at least one answer in Column B?
                                 Q Yes          ~ No                                                                        ~ Yes         ~ No
                   If"yes,° your case will initially be assigned to the                                      If "yes;' your case will initially be assigned to the
                               SOUTHERN DIVISION.                                                                          EASTERN DIVISION.
     Enter "Southern" in response to Question E, below,and continue from there.
                                                                                                             Enter "Eastern" in response to Question E, below.
                        If"no," go to question D2 to the right.       ~~                              If"no," your case will be assigned to the WESTERN DIVISION.
                                                                                                            Enter "Western" in response to Question E, below.              ,~,

QUESTION E: Initial Division?
                                                                                                                       INITIAL DIVISION IN CACD
Enter the initial division determined by Question A, B, C, or D above: ~                             .~        ~e     ~                                                        Q
QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or
                                                                                                           San Luis Obispo counties?               ~ Yes         ~ No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                  ~] NO                     YES

         If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                                    NO                  YES
         If yes, list case number(s):

                               If yes, you must file a Notice of Related Cases. See Local Rule 83-1.3.


        Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent,trademark, or copyright is not, in itself, sufficient to deem cases related.


        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal casein common and would entail substantial duplication of
                    labor if heard by differentjudges.

X.STATEWIDE OR NATIONWIDE RELIEF: Does this case seek to bar or mandate enforcement of a state or federal law and seek declaratory
    or injunctive relief on a statewide or nationwide basis?
                                                                                                           ~ NO            ~ YES
                              If yes,see Local Rule 83-71 for additional requirements.



 XI. SIGNATURE OF ATTORNEY                                                             ~ ,~/
(ORSELF-REPRESENTED LITIGANT):                                                        ~~~M'~                                       DATE:        ~ ~ 29 ~.~

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A,of the Social Security Act, as amended. Also,
        861                        HIA             include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                        BL              All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)

                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                        DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C.405(g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                        DIVJW
                                                   amended.(42 U.S.C.405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                       SSID
                                                   amended.

        865                        RSI             All claims for retirement(old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C.405 (g))



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